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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                          BID PROTEST

                                                   )
 BLUE ORIGIN FEDERATION, LLC,                      )
                                                   )
                        Plaintiff,                 )                        21-1695 C
                                                   )           Case No. ______________
         v.                                        )
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                        Defendant.                 )


              MOTION FOR LEAVE TO FILE A COMPLAINT UNDER SEAL


       Plaintiff Blue Origin Federation, LLC (“Blue Origin”), by its undersigned counsel,

respectfully moves this for Court Leave to File a Complaint Under Seal. The Complaint is Blue

Origin’s initial pleading before the Court in this matter, and it is intended to initiate a post-award

bid protest action challenging the actions of the Defendant, the United States, acting through the

National Aeronautics and Space Administration (“NASA”). Blue Origin challenges NASA’s

award of Human Landing System Option A (“HLS Option A”) under Broad Agency

Announcement (“BAA”) No. NNH19ZCQ001K to Space Exploration Technologies Corp.

(“SpaceX”). Blue Origin also challenges its nonselection for award of an HLS Option A contract.

More specifically, this bid protest challenges NASA’s unlawful and improper evaluation of

proposals submitted under the HLS Option A BAA. The HLS Option A BAA was for a

demonstration mission for a human landing system for lunar exploration. NASA selected SpaceX

for the single HLS Option A award on April 16, 2021.

       NASA’s improper award of the HLS Option A contract to SpaceX was the subject of bid

protests filed on April 26, 2021 at the Government Accountability Office (“GAO”) by Blue Origin
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and another offeror, Dynetics, Inc.—A Leidos Company (B-419783, B-419783.2) along with

subsequently filed supplemental protests (B-419783.3 and B-4019783.4). During the proceedings

before GAO, the GAO issued Protective Orders because the protests involved access to the

Agency’s source selection sensitive information, as well as the proprietary and business

confidential information of both Blue Origin and SpaceX, as well the other protester Dynetics.

       Blue Origin anticipates that the current proceedings before the Court will require

examination of the same information presented to GAO, and additional sensitive information in

the Administrative Record. Paragraph 8 of the GAO Protective Order additionally provides that

“[p]rotected material obtained under this protective order may be used . . . in a bid protest filed

with the United States Court of Federal Claims, without GAO’s prior authorization, provided that

the information is filed under seal with the Court, that the Court is informed of GAO’s protective

order, and that the Court is requested to issue its own protective order to cover the protected

material.” GAO Protective Order, EPDS Docket 3, at ¶ 8. The GAO’s order further states that

“[u]se of material protected under the GAO protective order will be governed by the protective

order issued by the Court.” Id.

       Blue Origin will promptly request that the Court issue its own Protective Order to cover

the protected material in this action.

       Blue Origin’s Complaint contains protected material subject to GAO’s protective order and

is appropriately filed under seal. Protected Material is indicated with gray highlighting. A

proposed redacted version for public release of the Complaint is also supplied, in accordance with

the Court’s rules.

       WHEREFORE, Blue Origin respectfully requests that the Court grant its Motion for Leave

to File a Complaint Under Seal.
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Date: August 13, 2021

                                            Respectfully submitted;


                                            ___________________

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